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CHARACTER REFERENCE LETTER FOR COURT


Date: 06/13/2023

From: Henry Fellhauer

E-Mail: hfellhauer1@gmail.com




Your Honor,




My name is Henry Fellhauer and I am writing to support Robert Gieswein who has been
charged before your court. I understand the seriousness of the matter, but I hope that some
leniency will be shown.

I can speak to you with authority about the moral condition of Robert, and I hope your good faith
will take into account this brief letter when you have to make your wise decision. I have
personally known Robert for 7 years as my Best Friend. I consider him to be one of the most
empathetic people I’ve ever met.

​ uring my relationship with Robert, I have experienced an individual who is very loving,
D
hardworking and polite. In the years, I have known Robert, I have seen him give half of the
small amount of money in his bank account to a friend in need and not even ask for it returned. I
have seen him help countless people he had no relationship to, random acts of kindness of all
forms. In addition, Robert is a family-person who has always presented himself with grace. His
qualities make him a valuable member of society, and if there were more Roberts in today's
world we would all be better for it.

I hope you consider my reference letter when determining the outcome of this matter. I am sure
that you know the power that your decision can make on the life of Robert and you will take a
Merciful disposition.

Please do not hesitate to contact me if you should require any further information.
